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                                   UNFFEDSTATES BANKRUPTCY COURT                                  2023OCT
                                          DISTRICTOFARIZONA

               fare:                                               Chapter\^>
                                                                   CaseNo. ^;2)^-             W-4)S
          -^isc, CW^i<<^
                                                                   MO?nONTOVACATEORDEROF
                                        Debtors).                  DISMISSALANDTOR^SSTATECASE




                Debtors),.                                                            move the Court to issue an
                               (nssse &f debtor an^jQint detftor, if applicable)
 order vacatifig dismissal ofthe case and remstating the case. In support ofthis motion. Debtors) state:
           [Address cause(s) ofdismissal ineliidtng correeti^e actioh taken in the space belffw.]
     I^X WASey^s^ 4o Co^ b^ ^^aon ^^o<ey\-^ ^^om v^ iwy IA&U-SAJ^-^^ /-
       ^-t^^ p<^^&^ eo^'6 s^. seph^'h
     Z) t^y iv\&aj(vS c^+raJe^-Fw^b&»^-4^ <^UY+hco^f 15^b\ic-l~^^>od l^o^>
     .




           U\^i        ^fito^^G^x^^4^'T^^,                       4+^lL    g^(2^U^^L^^u^^
           ^lA. r^qaCn &££9SJto'^~t^ LA\-M \(e^^^                           ^^e^p^ r^-h^^"^ws
         ^^^t^p^/ isU^pb-/ GA&b^^c^^o^^^^^:^^l^'^5)/
         ^ '   'ff the deadlines ) fbr filing compfamts/under   FED. R BANKR. I'. 4004(a) or 4007(c), motions under

 FEDJEAANKSJ*. 101?< ), Orpoofs of ctaim uad^ FED.R^ANKR. P. 3002<c) ex^ed os or after the date
 the casewas dis^issed^ or if less than thirty (30) days remains uHti! such deadlifie. Debtors)wasvettie
 right to object to complaints, motions, or proofs of claim filed under FED.R.BANKR. P. 4004(a), 4007(c),
 1017(e), and 3< 2(c) on grounds of timeliness, so loug as they are filed in the thirty (30) days followiBg
 notice of reinstatement of fee ease.

        WHEREFORE, Debtors) request that the Court enter an order vacating the dismissal and
 reingtatifigthis case,afidfor suchotherand farfhefreii f astheCourt deemsjust andproper.

 Date:          10 ^W3
                   (datesigned)                (Signature ofd btor andjoint debtor. ifapplicable)

                                                          cu
                                                    (Type orprint nameofdebtor/Jointdebtor)




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